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UNITED STATES DISTRICT COUR'I`

DISTRICT OF OREGON
PORTLAND DIVISION
MORASCH MEATS, INC., an
Oregon Col‘poration,
Plaintiff,
v. Case No.: 3316~cv»00269-PK

FREVOL, HPP, LLC ffk/a
FRESHER EVOLUTION HPP, LLC,

 

et al.,

Defendants.
Dayna Jean Christian Michelle E. Vocht
Immix Law Group Roy, Schecter & Vocht, PC
600 NW Naito Parkway, Suite G ?0? S. Eton Street
Portland, OR 97209 Binningham, MI 48009
Telephone: (503) 802-5533 Telephone: (243) 540-7660

Nicholas M. Dl'um

Nicole L. McMillan

Immix Law Group

121 S.W. Salmon Street, Suite G
Portland, OR 97209

Telephone: (503) 802-554'}'

 

SUGGESTION OF BANKRUPTCY
Defendant, Gerald Ludwick, by and through his bankruptcy attomeys, Rayrnan & Knight,
Would show unto this Court as follows:
l. That on June lS, 2018 said Defendant filed a voluntary Chapter '? Petition in the
United States Bankruptcy Court for the Westem District of Michigan, Case Nurnber 18-02?14.
2. That, pursuant to §362 of the Bankruptcy Code, an automatic stay is in effect.
3. That all of the Defendant’s property is subject to the jurisdiction of the United

States Bankruptcy Court for the Westem District of Michigan.

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4. That said proceedings have not been dismissed and that the claim of the Plaintiff
in this cause is founded upon a claim which a discharge in bankruptcy would release and that the
right to discharge has not been determined by the Court, nor lost nor waived

5. That this Suggestion of Bankruptcy does not constitute an appearance of the
undersigned counsel on behalf of the Debtor in the above-styled proceeding

I HEREBY CERTIFY that a copy of the foregoing has been furnished by first-class
mail to Dayna Jean Christian, lmmix Law Group, 600 NW Naito Parkway, Suite G, Portland,
OR 9?209 and Nicholas M. Drum, Nicole L. McMillan, Immix Law Group, 121 S.W. Salmon
St.reet, Suite 1000, Portland, OR 97204-2089 on this lcl_ibday of June, 2018.

RAYMAN & KNIGHT

Bankruptcy Attomeys for Gerald R.
Ludwick

Dated: June H, 2018 By; 4""\'@~»‘/`

steven L. Raj/man (P30882)

BUSTNESS ADDRESS:

141 East Michigan Avenue, Suite 301
Kalamazoo, MI 4900?

Telephone: (269) 345-5156

